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     Attorneys for Defendant
 6   ESTELO CHAIDEZ-LEON

 7
 8                            IN THE UNITED STATES DISTRICT COURT

 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA

10
11   UNITED STATES OF AMERICA,                  ) Case No. 1:14-cr-00226-DAD-BAM-1
                                                )
12                    Plaintiff,                ) STIPULATION AND ORDER TO
                                                ) CONTINUE SENTENCING HEARING
13   vs.                                        )
                                                )
14   ESTELO CHAIDEZ-LEON,                       )
                                                )
15                   Defendant.                 )
                                                )
16
17          IT IS HEREBY STIPULATED by and between the parties through their respective
18   counsel, Assistant United States Attorney Kathleen A. Servatius, Counsel for Plaintiff, and
19   Assistant Federal Defender, Megan T. Hopkins, Counsel for Defendant Estelo Chaidez-Leon,
20   that the sentencing hearing set for April 3, 2017 at 10:00 a.m., may be continued to May 1,
21   2017 at 10:00 a.m.
22          The reason for the continuance is to permit Defense Counsel to respond to the
23   Government’s informal objections and request a revised final Presentence Investigation Report,
24   and to give sufficient time for both parties to file sentencing memoranda and formal objections,
25   as necessary. In this case, the Government was delayed in filing their informal objections for
26   more than one week, which significantly reduced the amount of time Defense Counsel had to
27   respond to those objections prior to a final report being filed. Additionally, the final report was
28   filed one business day prior to the current deadline for formal objections and sentencing
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 1   memoranda. As a result, the parties are unable to adequately address the sentencing issues that
 2   have been identified, and require additional time to do so.
 3          The parties agree that additional time is needed for adequate preparation for sentencing
 4   and a full discussion of the issues, and therefore request that the matter be continued for
 5   sentencing on May 1, 2017 at 10:00 a.m.
 6
 7   Dated: March 20, 2017                         PHILLIP A. TALBERT
                                                   United States Attorney
 8
 9                                                 /s/ Kathleen Servatius
                                                   KATHLEEN SERVATIUS
10                                                 Assistant United States Attorney
                                                   Attorney for Plaintiff
11
12
13   Dated: March 20, 2017                         HEATHER E. WILLIAMS
                                                   Federal Defender
14
15                                                 /s/ Megan T. Hopkins
                                                   MEGAN T. HOPKINS
16                                                 Assistant Federal Defender
                                                   Attorney for Defendant
17                                                 ESTELO CHAIDEZ-LEON
18
19                                               ORDER

20          The Court has reviewed and considered the stipulation of the parties to continue the

21   sentencing in this case. Good cause appearing, the sentencing hearing as to the above named

22   defendant currently scheduled for April 3, 2017, is continued until May 1, 2017, at 10:00 a.m. in

23   Courtroom 5 before District Judge Dale A. Drozd.

24
     IT IS SO ORDERED.
25
        Dated:     March 20, 2017
26
                                                        UNITED STATES DISTRICT JUDGE
27
28
                                                      -2-
